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                        11                                    UNITED STATES DISTRICT COURT
                        12                                EASTERN DISTRICT OF CALIFORNIA
                        13     RAMON VILLEDA, an individual;                )   Case No. 2:23-cv-00613-JAM-JDP
                               ANGELICA VILLEDA; an individual              )
                        14                                                  )   STIPULATION FOR EXTENSION OF
                                              Plaintiff(s),                 )   DEADLINES;
                        15                                                  )
                               vs.                                          )   ORDER MODIFYING PRETRIAL
                        16                                                  )   SCHEDULING ORDER (ECF No. 13)
                               TARGET CORPORATION, a business               )
                        17     entity; and DOES 1-50, inclusive             )
                                                                            )
                        18                    Defendant(s).                 )
                                                                            )
                        19

                        20           WHEREAS, under the current Stipulation and Order (ECF No. 12) extending the previous

                        21   deadlines set in the initial Pretrial Scheduling Order in this action (ECF No. 8), expert disclosures

                        22   are currently due by June 14, 2024 and discovery is set to close on August 9, 2024.

                        23           The parties have been actively engaged in discovery including written discovery,

                        24   depositions, and obtaining medical records. In addition to engaging in discovery, the parties have

                        25   also agreed to participate in private mediation with Ernest Long, Esq. in Sacramento, California.

                        26   However, the earliest availability provided by the agreed upon mediator are dates in the last week

                        27   of September and early October 2024. It is the intent of the parties to engage in mediation efforts,

     Mordaunt,          28   at this time, prior to engaging in the time and cost of further discovery, expert disclosures, and
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                         1   expert discovery, to promote settlement discussions.

                         2          An extension of time on the current case deadlines is necessary to allow time for the

                         3   completion of mediation currently being coordinated for late September 2024. Additionally, should

                         4   mediation not be successful, the parties will need time to complete additional depositions of

                         5   additional witnesses and plaintiffs’ treating physicians, for expert complete expert disclosure

                         6   reports. Further, following expert disclosures, the parties will need sufficient time to complete

                         7   expert depositions.

                         8          Based on the foregoing, IT IS HEREBY STIPULATED AND AGREED among the

                         9   parties, through counsel, that that the current dates and deadlines shall be extended as follows:
                        10          •   The current expert disclosure deadlines of June 14, 2024 (expert witness disclosures)
                        11              and June 28, 2024 (supplemental disclosures) shall be extended to December 6, 2024
                        12              (expert witness disclosures) and December 20, 2024 (supplemental disclosures).
                        13          •   The current discovery deadline of August 9, 2024 shall be extended to January 31, 2025.
                        14          •   The current motion filing deadline for dispositive motions of October 4, 2024 shall be
                        15              extended to March 31, 2025; and the hearing on such motions shall be continued from
                        16              December 3, 2024 at 1:30pm to May 27, 2025 at 1:30pm, or any alterative date and time
                        17              available within the court’s schedule.
                        18          •   The Joint Mid-Litigation Statement filing deadline shall be Fourteen (14) days prior to
                        19              the close of discovery.

                        20          •   The final pretrial conference shall be continued from February 4, 2025 at 10:00am, to

                        21              July 29, 2025 at 10:00am or any alterative date and time available within the court’s

                        22              schedule.

                        23          •   The jury trial shall be continued from March 24, 2025 at 9:00am to September 8, 2025

                        24              at 9:00am or any alterative date and time available within the court’s schedule.

                        25   ///

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     Mordaunt,          28   ///
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                         1          All other instructions contained in the June 16, 2023, Pretrial Scheduling Order (ECF No. 8)

                         2 shall remain in effect.

                         3
                             Dated: May 29, 2024                             YURTSAN LAW FIRM
                         4

                         5                                                   By:   /s/ Andrey Yurtsan
                                                                                   Andrey R. Yurtsan, Esq.
                         6                                                         Attorneys for Plaintiffs
                                                                                   RAMON VILLEDA and ANGELICA
                         7                                                         VILLEDA
                         8

                         9
                             Dated: May 31, 2024                             MORDAUNT, ROUNDY, REIHL & JIMERSON
                        10

                        11
                                                                             By:   /s/ Lori Reihl
                        12                                                         Lori A. Reihl, Esq.
                                                                                   Attorneys for Defendant
                        13                                                         TARGET CORPORATION
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                         1                        ORDER MODIFYING PRETRIAL SCHEDULING ORDER
                         2

                         3             Based on the stipulation of the parties and good cause appearing, the Scheduling Order, is

                         4   MODIFIED as follows:

                         5             • The expert disclosure deadlines are December 6, 2024 (expert witness disclosures) and

                         6   December 20, 2024 (supplemental disclosures);

                         7             • The discovery deadline is January 31, 2025;

                         8             • The motion filing deadline for dispositive motions is March 31, 2025, and the hearing on

                         9   such motions shall be June 03, 2025, at 01:00 p.m. 1;
                        10             • Joint Mid-Litigation Statement Filing Deadline: Fourteen (14) days prior to the close of

                        11   discovery;

                        12             • The final pretrial conference shall be Friday, August 01, 2025, at 10:00 a.m.

                        13             • The jury trial (5-7 days) shall be September 15, 2025, at 9:00 a.m.

                        14             All other instructions contained in the June 16, 2023, Pretrial Scheduling Order (ECF No. 8)

                        15   SHALL remain in effect.

                        16

                        17       Dated: June 06, 2024                               /s/ John A. Mendez
                                                                                    THE HONORABLE JOHN A. MENDEZ
                        18                                                          SENIOR UNITED STATES DISTRICT JUDGE
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     Mordaunt,          28
    Roundy, Reihl            1
     & Jimerson                  Calendars are subject to last minute changes. Contact the Courtroom Deputy for available dates.
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                             ORDER MODIFYING PRETRIAL SCHEDULING ORDER
